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                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA


GREGORY J. STEWART                     *                 CIVIL ACTION
                                       *
VERSUS                                 *                 NO: 2:20-cv-03338
                                       *
PARAKOU SHIPPING, LTD. and             *                 JUDGE LEMELLE
CP TIANJIN SHIPPING, SA                *
                                       *                 MAGISTRATE DOUGLAS
                                       *
***************************************

                                        ANSWER

       NOW INTO COURT, through undersigned counsel, come defendants, Parakou

Shipping, Ltd. (“Parakou”) and CP Tianjin Shipping, SA (“CP Tianjin”) (collectively,

“Defendants”), and for answer to the Complaint filed by plaintiff, Gregory J. Stewart

(“Plaintiff”), allege and aver upon information and belief as follows:

                                       First Defense

       The Complaint fails to state a claim against Defendants upon which relief can be

granted.

                                     Second Defense

       In response to the numbered paragraphs of Plaintiff’s Complaint, Defendants aver

as follows:

                                             1.

       Defendants admit the truth of the allegations contained in Paragraph 1 of the

Complaint, with the clarification that CP Tianjin’s principal place of business is in the



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Marshall Islands.

                                             2.

       Paragraph 2 of the Complaint does not contain allegations of fact but conclusions

of law for which an answer is not required; however, to the extent an answer is required,

Defendants deny that jurisdiction is premised on 28 U.S.C. §1331 but do not contest

jurisdiction under the general maritime law or venue in this Honorable Court.

                                             3.

       Defendants deny the truth of the allegations contained in Paragraph 3 of the

Complaint for lack of knowledge or information sufficient to justify a belief in the truth

thereof.

                                             4.

       Defendants deny the truth of the allegations contained in Paragraph 4 of the

Complaint, except to admit that the M/V CP TIANJIN was docked in the Port of New

Orleans on December 10, 2019, that CP Tianjin was the owner of the M/V CP TIANJIN,

and that Parakou was the manager of the M/V CP TIANJIN.

                                             5.

       Defendants deny the truth of the allegations contained in Paragraph 5 of the

Complaint.

                                             6.

       Defendants deny the truth of the allegations contained in Paragraph 6 of the

Complaint.




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                                              7.

       Paragraph 7 of the Complaint does not contain allegations that require an answer

of Defendants; however, Defendants re-aver, reiterate, and adopt by reference each and

every averment and defense set forth above.

                                              8.

       Defendants deny the truth of the allegations contained in Paragraphs 8 – 13 of the

Complaint.

                                              9.

       Defendants deny the prayer for relief and any unnumbered allegations contained in

the Complaint.

                                      Third Defense

       Further answering, Defendants allege that if Plaintiff sustained any injuries and/or

damages in the manner alleged in the Complaint, which is specifically denied, then the

injuries and/or damages complained of, if any, were solely caused or contributed to by

Plaintiff’s own negligence, fault, inattention to duty and/or failure to work in a reasonable

manner. Defendants specifically plead the defense of comparative negligence.

                                      Fourth Defense

       Defendants specifically allege that at no time were they or any of their employees

in any way negligent or at fault, and, if any party was negligent or at fault in causing

Plaintiff’s alleged injuries and/or damages, it was a party for whom Defendants are not

responsible.




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                                        Fifth Defense

       Defendants allege that Plaintiff’s injuries, if any, were the result of risks incidental

to his duties and employment as a longshoreman and, therefore, were assumed by him.

                                       Sixth Defense

       Plaintiff is held to the standard of care of a reasonably prudent person and is

expected to see and avoid what a reasonably prudent person should see and avoid.

Plaintiff’s recovery, if any, should be reduced and/or barred by his failure to act in a

reasonably prudent manner.

                                      Seventh Defense

       Defendants allege that Plaintiff did not take the proper steps to mitigate his alleged

injuries, damages, or losses. Plaintiff is placed on the full proof of the fairness and

reasonableness of his steps, if any, taken to minimize said injuries, damages and/or

losses, if any.

                                       Eighth Defense

       Defendants assert all defenses to vessel liability under 33 U.S.C. §905(b) arising

from Scindia Steam Navigation Co., Ltd. v. De Los Santos, 451 U.S. 156 (1981) and its

abundant progeny.



       WHEREFORE, Parakou Shipping, Ltd. and CP Tianjin Shipping, SA pray that

this, their Answer, be deemed good and sufficient, and that after due proceedings, there

be judgment in their favor and against Plaintiff, dismissing Plaintiff’s Complaint at

Plaintiff’s cost, and for all other general and equitable relief as the law and nature of the


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case may allow.



                                        Respectfully submitted,

                                        MURPHY, ROGERS, SLOSS,
                                         GAMBEL & TOMPKINS

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